                             Case 14-19596-LMI               Doc 8       Filed 05/01/14         Page 1 of 2
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 14-19596-LMI
Elipidio O Gonzalez                                                                                        Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: covington                    Page 1 of 1                          Date Rcvd: Apr 29, 2014
                                      Form ID: CGFI2                     Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 01, 2014.
db            +Elipidio O Gonzalez,  494 E 24 St,   Hialeah, FL 33013-3932

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: May 01, 2014                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 29, 2014 at the address(es) listed below:
              Marcia T Dunn   MDunn@dunnbankruptcy.com, mdunn@ecf.epiqsystems.com
              Office of the US Trustee   USTPRegion21.MM.ECF@usdoj.gov
              Patrick L Cordero, Esq   on behalf of Debtor Elipidio O Gonzalez PCBankruptcyMail@pcorderolaw.com
                                                                                            TOTAL: 3
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CGFI2 (8/1/11)
                                               United States Bankruptcy Court
                                                             Southern District of Florida
                                                               www.flsb.uscourts.gov
                                                                                                                 Case Number: 14−19596−LMI
                                                                                                                 Chapter: 7
In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Elipidio O Gonzalez
aka Elpidio Orlando Gonzalez, aka Elpidio Gonzalez
494 E 24 St
Hialeah, FL 33013
SSN: xxx−xx−0230


                         NOTICE OF DEADLINE(S) TO CORRECT FILING DEFICIENCY(IES)
NOTICE IS HEREBY GIVEN TO THE DEBTOR that the above referenced case, which was filed on April 28, 2014, contains
one or more filing deficiency(ies) which must be corrected. Failure to correct a deficiency on or before the deadline posted
below the listed deficiency may result in dismissal of this case without further notice. Deficiencies in items listed below
may include failure to file the document, failure to sign the document or failure to submit the document on a form that
substantially conforms to an Official Bankruptcy Form. Links to all required Official Bankruptcy Forms and AO Director's national
forms and to local rules, forms, instructions and guidelines are on the court website www.flsb.uscourts.gov.

DEFICIENCY(IES) in your case: You must correct the following deficiency(ies) by the date indicated below each deficiency.




                     Statement of Monthly Income and Means Test Calculation (Official Bankruptcy Form
                     22A) not filed. See Bankruptcy Rule 1007(b) and (c).
                     Deadline to correct deficiency: 5/12/14

                    Copies of all payment advices or other evidence of payment received within 60 days
                    before the filing of the petition as required by 11 U.S.C. §521(a)(1)(B)(iv) for the Debtor.
                    See Bankruptcy Rule 1007(b) and (c) and Local Rule 1007−1(F). Payment advices are
                    deficient as indicated: NONE FILED.
                    Deadline to correct deficiency: 5/12/14


Please also be advised of the following local requirements when correcting any deficiency related to filing of petitions,
schedules, statements or lists:

                   1. The Local Form "Debtor's Notice of Compliance with Requirements for Amending Creditor Information"
                      (LF−04) and the Official Bankruptcy Form "Declaration Concerning Debtor's Schedules" must accompany
                      the filing of any paper submitted subsequent to the filing of the initial service matrix. [See Bankruptcy Rules
                      1007 and 1009, and Local Rules 1007−2(B) and 1009−1(D)]. If the paper you are filing to correct the
                      deficiency requires you to amend your service matrix, please review the "Clerk's Instructions for Preparing,
                      Submitting and Obtaining Service Matrices" for additional format, fee and other requirements; and

                   2. The Local Form "Declaration Under Penalty of Perjury to Accompany Electronically Filed Petitions,
                      Schedules and Statements" (LF−11) must accompany any electronically filed schedule or statement filed
                      without an imaged signature.


Dated:4/29/14                                                                 CLERK OF COURT
                                                                              By: Katrinka Covington , Deputy Clerk
Copies to:     Debtor
               Attorney for Debtor
